     CASE 0:22-cr-00223-NEB-DTS     Doc. 519   Filed 02/19/25   Page 1 of 5




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA




UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-124 (3) (NEB/DTS)

MAHAD IBRAHIM,

                      Defendant.



UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-222 (NEB/DTS)

LIBAN YASIN ALISHIRE, ET AL.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-223 (NEB/DTS)

AIMEE MARIE BOCK, ET AL.,

                      Defendants.
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UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-224 (NEB/DTS)

QAMAR AHMED HASSAN, ET AL.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-225 (NEB/DTS)

SHARMAKE JAMA, ET AL.,

                      Defendants.



UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-226 (NEB/DTS)

HAJI OSMAN SALAD, ET AL.,

                      Defendants.




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UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-277 (NEB/DTS)

MEKFIRA HUSSEIN, ET AL.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              22-CR-293 (NEB/DTS)

MOHAMED MUSE NOOR,

                      Defendant.



UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              23-CR-80 (NEB/DTS)

AYAN FARAH ABUKAR,

                      Defendant.




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UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              23-CR-82 (NEB/DTS)

SHARON ROSS,


                      Defendant.



UNITED STATES OF AMERICA,


                      Plaintiff,

v.                                              24-CR-13 (NEB/DTS)

SAID EREG, ET AL.


                      Defendants.



UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                              24-CR-15 (NEB/DTS)

IKRAM YUSUF MOHAMED, ET AL.


                      Defendants.




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                                        ORDER


       Effective today, any Defendants charged in the related cases connected to the

“Feeding Our Future” investigation shall contact the Court (Courtroom Deputy for Judge

Nancy E. Brasel) if they plan to attend trial in any of the related cases. Defendants may

attend trial; however, based on recent security issues, the Court needs 24 hours advance

notice to set up an overflow viewing location. The overflow viewing location will be on

a floor other than the 13th floor.

       The Court orders counsel for Defendants charged in these cases to notify their

clients of this Order. Counsel shall contact the Court with any viewing requests in

accordance with this Order. During trial, Defendants charged in the related cases are not

to come to the 13th floor.


 Dated: February 19, 2025                      BY THE COURT:

                                               s/Nancy E. Brasel
                                               Nancy E. Brasel
                                               United States District Judge




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